United States District Court
Northern District of California

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

META PLATFORMS, INC., Case No. 21-cv-09807-CRB
Plaintiff,
y JUDGMENT
SOCIAL DATA TRADING LTD.,
Defendant.

Having granted Plaintiff Meta Platforms, Inc.’s motion for default judgment, the

Court hereby enters judgment for Plaintiff and against Defendant Social Data Trading Ltd.

IT ISSO ORDERED.
Dated: December 8, 2022 xo / Y

CHARLES R. BREYER
United States District Judge

